   Case 2:08-cr-00140-ILRL-SS    Document 663   Filed 04/14/11   Page 1 of 4



                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                              CRIMINAL ACTION

VERSUS                                                NO. 08-140

RENEE GILL PRATT                                      SECTION "B"(1)


                           ORDER AND REASONS

     Before the Court is Defendant’s Motion in Limine to Correct

Jury Instructions and Add Interrogatories (Rec. Doc. No. 656), the

Government’s Objection (Rec. Doc. No. 659), and Defendant’s Reply

(Rec. Doc. No. 661).     For the following reasons,

     IT IS ORDERED that Defendant’s motion is DENIED, without

prejudice to reurge.

     Defendant asserts that the Court erred in its charges to the

jury by failing to instruct the jury that it must find an agreement

to commit those acts of mail fraud contained in Counts 2-3 of the

Third Superseding Indictment prior to finding the defendant guilty

of conspiring to violate 18 U.S.C. § 1862(d). Defendant urges that

a RICO conspiracy requires an agreement to commit two specific

predicate acts, and that here, the Government only alleges two

predicate acts that form the basis of the alleged conspiracy, i.e.

those acts of mail fraud contained in Counts 2-3 of the Third

Superseding Indictment.         Accordingly, Defendant argues that the

Court must charge the jury that it can only convict the defendant
   Case 2:08-cr-00140-ILRL-SS   Document 663   Filed 04/14/11   Page 2 of 4



if it finds unanimously that the defendant agreed to the commission

of those two, and only those two, predicate acts.                  Defendant

further contends that the Court erred in not issuing a special

verdict form requiring the jury to identify the two predicate acts

it unanimously found the alleged RICO enterprise to have been

designed to commit.

     This Court previously ruled on a similar motion in limine

filed by Defendant seeking to include the factual allegations of

Counts 2-3 in the indictment and to charge the jury accordingly.

See Rec. Doc. No. 597.     The Court dismissed the motion, stating:

     Contrary to Defendant’s assertions, the RICO count
     sufficiently describes and refers to the foundational
     support for a § 1962(d) conspiracy. The government must
     prove beyond a reasonable doubt that two or more persons
     agreed to commit a substantive RICO offense and that the
     accused knew of and agreed to the overall objective of
     the RICO offense. Salinas v. United States, 522 U.S. 52,
     61-66 (1997); United States v. Delgado, 401 F.3d 290, 296
     (5th Cir. 2005). The accused conspirator need not have
     committed or agreed to commit the two predicate acts.
     Salinas and Delgado, supra.

Rec. Doc. No. 597, at 1-2.      A consideration of jurisprudence from

other circuits dictates the same result.          In Smith v. Berg, 247

F.3d 532 (3d Cir. 2001), the United States Third Circuit Court of

Appeals reiterated the Supreme Court’s findings in Salinas, stating

that “a RICO conspiracy defendant need not himself commit or agree

to commit predicate acts...for purposes of conspiracy it ‘suffices

that [defendant] adopt the goal of furthering or facilitating the

criminal endeavor.’” Smith, 247 F.3d at 537 (citing Salinas, 522


                                     2
   Case 2:08-cr-00140-ILRL-SS       Document 663    Filed 04/14/11    Page 3 of 4



U.S. at 65).     Moreover, in United States v. Glecier, 923 F.2d 496

(7th Cir. 1991), the defendant challenged, inter alia, the district

court’s finding that the specific predicate acts to which a RICO

conspiracy defendant is alleged to have agreed did not constitute

elements of the offense and need not be set forth in a RICO

conspiracy indictment.          Glecier, 923 F.2d at 499.              The United

States Seventh Circuit Court of Appeals agreed, stating “[n]either

overt acts, nor specific predicate acts that the defendant agreed

personally to commit, need be alleged or proved for a section

1962(d) offense.”        Id. at 500 (citing United States v. Torres

Lopez,    851   F.2d   520,   525    (1st    Cir.   1988);   United     States      v.

Neapolitan, 791 F.2d 489, 495-498 (7th Cir. 1986)).

        As the Government is not required to prove that the defendant

agreed to commit the specific predicate acts, but only that the

defendant knew of and agreed to the overall objective of the RICO

offense, the Court need not instruct the jury that a determination

of guilt requires a unanimous decision that the defendant agreed to

commit those acts of mail fraud contained in Counts 2-3 of the

Third    Superseding    Indictment      nor    issue    to   the     jury   special

interrogatories regarding the specific predicate acts on which it

found the alleged RICO enterprise to have been designed to commit.

        Furthermore, the Court recognizes defense counsel’s request

for certification of this ruling (see Rec. Doc. No. 656-1, at n.3);

however, we do not find any basis to certify this issue at this


                                         3
   Case 2:08-cr-00140-ILRL-SS    Document 663     Filed 04/14/11   Page 4 of 4



time.     Although we currently hold that there is no need to grant

Defendant’s request to change the jury instructions and add special

jury     interrogatories,       we   find   the     issue      premature         for

certification, as a new basis for reconsideration of this ruling

may arise at Defendant’s retrial.           See Robinson v. Parrish, 720

F.2d 1548 (11th Cir. 1983).

        New Orleans, Louisiana, this 13th day of April, 2011.




                                     ______________________________
                                      UNITED STATES DISTRICT JUDGE




                                       4
